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UNlTED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLOR]DA

 

JACKSONVILLE DIVISION

JOHN ENGLISH,

Plaintiff,
v. Case No. 3:18-cv-77-J-20JRK
CREDIT ONE BANK, N.A.,

Defendant.

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0 R D E R

This matter is before this Court on the parties’ “Joint Motion to Stay Case Pending
Arbitration”(Dkt. 7). This pleading explains that based on a cardholder agreement between
Plaintiff and Defendant, the parties agreed to submit all claims to binding arbitration The parties,
therefore, request this Court stay this matter pending that arbitration.

Accordingly it is ORDERED:

l. The parties’ “Joint Motion to Stay Case Pending Arbitration”(Dkt. 7) is GRANTED;

2. The parties are ordered to submit to binding arbitration; and

3. This case is administratively closed while the parties are in arbitration. However every

ninety (90) days Plaintiff shall file a notice to this Court on the progress of the arbitration.

DONE AND ORDERED at Jacksonville, Florida, this 2 /éday of February, 2018.

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sTATEs ISTRICTR JUDGE

Copies to:
Octavio Gomez, Esq.
Dayle Marie Van Hoose, Esq.

